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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS
BOSTON, MA                                                  CIVIL ACTION NO.


Veronica Dyer, in her capacity as Administrator for         )
       the Trustees of the Iron Workers District Council    )
       of New England Pension, Health & Welfare,            )
       Annuity, Vacation, Education, and other Funds,       )
       Plaintiff (“Ms. Dyer”),                              )
                                                            )
v.                                                          )       COMPLAINT
                                                            )
U.S. Department of Veterans Affairs,                        )
Defendant.                                                  )

                              COMPLAINT FOR INJUNCTIVE RELIEF

     1. Plaintiff seeks injunctive relief in accord with the Freedom of Information Act (“FOIA”),

        5 USC § 552, ordering Defendant the United States Department of Veterans Affairs to

        produce payroll documents regarding a project at the VA Medical Center, 940 Belmont

        St., Brockton, MA (the “Project”).

                                    JURISDICTION AND VENUE

     2. This Court has jurisdiction under 5 USC § 552(a)(4)(B).

     3. Venue is proper in this District as Complainant maintains an office in Boston,

        Massachusetts, and the Project is located in Brockton, Massachusetts.

                                             PARTIES

     4. Ms. Dyer administers the Benefits Funds, which were formed in accord with 29 USC

        §§185, 1002 (1), (2) and (3), from their business office located at 161 Granite Avenue in

        Dorchester, MA, 02124, County of Suffolk.

     5. The U.S. Department of Veterans Affairs (the “VA”) is a federal government agency

        with its principal address at 810 Vermont Avenue, N.W., Washington, D.C. 20420.


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6. The VA is an agency within the meaning of 5 USC §552 (f).

                                         FACTS

7. This appeal of a FOIA request is part of Plaintiff’s attempt to recover monies owed to the

   Benefits Funds under the terms of a collective bargaining agreement (“CBA”) by

   Greystone Iron Corp. (“Greystone”), or BR Steel, LLC (“BR Steel), its alter ego.

8. On December 19, 2018, Ms. Dyer, by her Attorney Mickey Long, sent a Freedom of

   Information Request to the VA. Exhibit A (FOIA Request).

9. In the FOIA Request, Ms. Dyer requested certified payroll records, daily records, any

   payment bond, contracts and subcontracts, and any Davis-Wage determinations relating

   to any activity of “Greystone” or “BR Steel.”

10. On March 11, 2019, the VA responded to Plaintiff’s FOIA request. Exhibit B (FOIA

   Response). In its FOIA Response, the VA provided Plaintiff with some documents but

   withheld others, claiming that the information contained in them fell under FOIA

   Exemptions 4 and 6 (5 USC §§ 552(b)(4) and (6)).

11. In relevant part to this complaint, the VA redacted hours worked each day by individuals,

   and the “Fringes” rate from the Davis Bacon Wage and Benefit rate sheet.

12. On March 21, Plaintiff filed an Appeal of the VA’s decision, claiming that the hours

   worked by individuals and the “Fringes” rate were not exempt from disclosure. Exhibit C

   (Appeal of FOIA Denial).

13. The VA confirmed receipt of Plaintiff’s appeal on March 22, 2019. Exhibit D (VA

   Confirmation).

14. More than 20 days have passed since the VA received Plaintiff’s FOIA request, and the

   VA has not notified Plaintiff as to whether it will fully comply with her request. Thus,



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      under 5 USC §552(a)(6)(A) and 5 USC §552 (a)(6)(C), Plaintiff has exhausted the

      applicable administrative remedies with respect to her FOIA request.

   15. Plaintiff has a right of prompt access to the requested records under 5 USC §552 (a)(3)(A)

      and the VA has wrongfully withheld the sought-after documents.

   16. Hours worked do not reveal any personnel information protected under Exemption 6.

   17. Information on fringe benefits under the Davis Bacon Act is legally mandated and available

      for public access and thus does not constitute information protected under Exemption 4.

                                             COUNT ONE
                                     Request for Injunctive Relief
   18. Plaintiff restates all of the facts and allegations set forth in each of the Paragraphs above

      and by this reference incorporates them herein.

   19. The VA has failed to comply with the FOIA statute by refusing to produce to Plaintiff

      information properly requested, in the public domain, and not subject to any of the

      exemptions stated in the statute.

   20. This is a complaint for injunctive relief to order that the VA provide the Plaintiff’s

      request in her Appeal for hours worked and the information on “Fringes” benefits.

                                   Demand for Relief
WHEREFORE, Plaintiff respectfully demands that this Court:

   1. Order Defendant to provide to Plaintiff the information on hours worked and “Fringes”
      wage information from the Davis Bacon Wage and Benefit sheets;
   2. Award Plaintiff her costs and reasonable attorney’s fees incurred in this action; and
   3. Provide such other and further relief as the Court may deem proper and just.

                                                      Plaintiff, Ms. Dyer, in her capacity as
                                                      Administrator for the Trustees of the
                                                      Benefits Funds
                                                      By her attorney,

                                                      /s/ Mickey Long
                                                      Mickey Long BBO# 634388
                                                      P.O. Box E-1

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May 1, 2019




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